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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                 NO. 4:11CR00290-05 JLH

ERNEST RICHARD                                                                     DEFENDANT

                                            ORDER

       A motion to revoke the supervised release of defendant Ernest Richard was filed in this

matter on September 27, 2013, at which time an arrest warrant was issued. The defendant was

released to the custody of the United States Marshal on or about April 29, 2014.

       IT IS THEREFORE ORDERED that a hearing on the government’s motion to revoke is

hereby scheduled for TUESDAY, MAY 6, 2014, at 2:30 P.M., in Courtroom #4-D, Richard

Sheppard Arnold United States Courthouse, 500 West Capitol Avenue, Little Rock, Arkansas, to

show cause why defendant’s supervised release should not be revoked. Document #525.

       Assistant Federal Public Defender Kim Driggers is hereby appointed to represent Richard

during revocation proceedings.

       IT IS SO ORDERED this 1st day of May, 2014.



                                                    _________________________________
                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
